53 F.3d 328NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Jesse Wilson JEFFRESS, Trustee in Res of Moses Nursing Home,Incorporated, t/a Moses Residential Home, andMoses Life Insurance Association,Plaintiff-Appellant,v.TITIUS AND SEIUS, Public Officials of the State of Virginia;Edwin B. Baker, Commonwealth Attorney, County of Charlotte,State of Virginia;  Gordon Ragland, Director, CharlotteCounty Department of Social Services;  Board of Supervisorsfor the County of Charlotte;  Treasurer for the County ofCharlotte;  County Administrator for the County ofCharlotte;  First State Bank;  Jack Petrie, DistrictDirector, Richmond District Office, Internal RevenueService;  Lawrence Douglas Wilder, Governor, Defendants-Appellees.
    No. 92-1929.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 20, 1995.Decided May 10, 1995.
    
      Jesse Wilson Jeffress, Appellant Pro Se.  Barbara J. Gaden, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, VA;  Charles F. Midkiff, Regina Maria Policano, MIDKIFF &amp; HINER, P.C., Richmond, VA;  Margaret Ann Dean Moncure, Charlotte Courthouse, VA, for Appellees.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying several post-judgment motions.  We have reviewed the record and the district court's orders, and find no reversible error.  Accordingly, we affirm.  Jeffress v. Titius and Seius, No. CA-90-256-R (W.D.Va. Apr. 21, 1992, July 29, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    